
BASCHAB, Judge,
concurring in part and dissenting in part.
I concur with the majority’s conclusions that the evidence was not sufficient to establish second-degree criminal mischief, but that it was sufficient to establish third-degree criminal mischief. However, I disagree with the majority’s conclusion that it is necessary to remand this case for the juvenile court to adjudicate the appellant delinquent based on the underlying offense of third-degree criminal mischief. As long as the evidence is sufficient to support an adjudication based on the underlying offense or a lesser included offense thereof, any error regarding the offense upon which the delinquency adjudication is based is harmless. See Rule 45, Ala. R.App. P. Because the appellant will still be adjudicated delinquent, a remand in this case will not serve any purpose. *261Therefore, I respectfully concur in part and dissent in part.
